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                          UNITED STATES DISTRICT CO URT             FILED BY             D.C.
                          SOUTHERN DISTRICT OF FLORIDA
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  UN ITED STA TES O F A M ERICA
              Plaintiff                                                s
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  VS
                                           CaseNo:21-6102-STRAUSS
  M ICHAEL M IZM CHY
              Defendant
                                           ORDER


        THIS CAUSE isbeforethe Courtforthe initialappearanceoftheabove-nam ed

  defendantts)onaSEALED COM PLAINT filedintheSouthernDistrictofFlorida.
        UPON OM L motion ofthegovernmentinopen courtthattheSEALED COM PLAINT be

  unsealed asto allthe defendants,itishereby ORDERED AND ADJUDGED thatthe Sealed

  Complaintbe unsealed asto a11partiesin thiscase.

  DONE AND ORDERED atFortLauderdale,Floridathis26th day ofFebruary,2021.




                                            JARED M .STM U SS
                                            UNITED STATES M A GISTM TE JUDGE




  cc;Al1CounselofRecord
